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                                                           EXHIBIT A




                                                       DATE FILED: August 31, 2020
                                                       CASE NUMBER: 2020CV381
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         DISTRICT COURT
         CITY & COUNTY OF DENVER, COLORADO
         1437 BANNOCK STREET               DATE FILED: September 1, 2020 2:21 PM
         DENVER, COLORADO 80202            CASE NUMBER: 2020CV381
                                                      COURT USE ONLY


         Plaintiff: IBRAHIM DALIS,

         v.

         Defendant: LYFT, INC.                                     Case Number: 20CV381

                                                                   Courtroom: 269




                                     DELAY REDUCTION ORDER



    All civil courtrooms are on a delay reduction docket.

    IF AN ATTORNEY OR PRO SE PARTY FAILS TO COMPLY WITH THIS ORDER, THE
    COURT MAY DISMISS THE CASE WITHOUT PREJUDICE. THIS ORDER IS THE
    INITIAL NOTICE REQUIRED BY C.R.C.P 121 § 1-10, AND C.R.C.P. 41(B)(2).

    A.        In all civil actions, the following deadlines must be met:

              1.   Service of Process: Proof of service of process under C.R.C.P. 4 for all
                   defendants must be filed within 63 days after the date of filing of the
                   complaint. After 63 days, the action may be dismissed by the Court against
                   any defendant for whom proof of service has not been filed.

              2.   Default: Motions for default must be filed within 14 days after default has
                   occurred, and must comply with C.R.C.P. 121(c) § 1-14. Reasonable inquiry
                   regarding a person’s military status requires confirmation through the
                   Department of Defense’s Servicemembers Civil Relief Act website
                   (https://scra.dmdc.osd.mil) or equivalent confirmation.

              3.   Trial Setting: The Responsible Attorney as defined in C.R.C.P. 16(b)(2)
                   must file and serve a Notice to Set the case for trial and must complete the
                   setting of the trial no later than 14 days from the date the case is at issue.
                   Counsel may call the courtroom to set trials only on Tuesdays, Wednesdays,
                   and Thursdays from 10:00 a.m. until noon.
Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 45 of 59




         4.   Cases filed under C.R.C.P. 16:

                a) Case Management Conference: The notice to set trial must also
                   include a notice to set a Case Management Conference to be held no
                   later than 49 days after the case is at issue. Counsel may call the
                   courtroom to set case management conferences only on Tuesdays,
                   Wednesdays, and Thursdays from 10:00 a.m. until noon.

                b) Proposed Case Management Order: At least 7 days before the Case
                   Management Conference, the parties must file a proposed Case
                   Management Order.

                c) Waiver of Case Management Conference:               If all parties are
                   represented by counsel, a joint request to waive the case management
                   conference may be included in the proposed Case Management Order.
                   Unless such a request has been granted, counsel must appear for the
                   case management conference.

         5.   Cases filed under C.R.C.P. 16.1:

              Certificate of Compliance: Not later than 49 days after the case is at
              issue, the Plaintiff (or the Responsible Attorney) must file a Certificate of
              Compliance as required under C.R.C.P. 16.1(h). No Case Management
              Order or Case Management Conference is required.

    B.   Additionally, in all civil actions the following provisions apply:

         1. Service of this Order. The Plaintiff or Responsible Attorney must send a
         copy of this Order to all other parties who enter their appearance.

         2. Related Cases. An attorney entering an appearance in this case who is aware
         of a related case is ordered to complete and file in this case an Information
         Regarding Related Case(s) form, available in Room 256 of the City and County
         Building or on line at:
         https://www.courts.state.co.us/userfiles/file/Information_Regarding_Related_
         Cases_Form(1).doc

         DATE: THIS 1ST DAY OF SEPTEMBER, 2020.

                                            BY THE COURT:




                                            Michael J. Vallejos
                                            District Court Judge
                                            Second Judicial District

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    Revised Sept. 2019 in perpetuity, B(1) corrected 2/19/20




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                                                       DATE FILED: October 27, 2020
                                                       CASE NUMBER: 2020CV381
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                                                     DATE FILED: November 12, 2020
                                                     CASE NUMBER: 2020CV381
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                                                            DATE FILED: November 17, 2020 7:08 PM
    DISTRICT COURT, DENVER COUNTY, COLORADO
                                         FILING ID: F3B69ADD1059D
    1437 Bannock Street, Room 256        CASE NUMBER: 2020CV381
    Denver, CO 80202

    PLAINTIFF:

    IBRAHIM DALIS

    v.

    DEFENDANT:

    LYFT, INC.                                                      COURT USE ONLY


    Attorneys for: Lyft, Inc.                                       Case No.: 2020-CV-00381
    Name(s)               Roger G. Trim # 39708
                          Raul Chacon, Jr. #43708                   Ctrm/Div: 269
                          Ogletree, Deakins, Nash, Smoak &
                          Stewart, P.C.
                          2000 S. Colorado Blvd.
                          Tower 3, Suite 900
                          Denver, CO 80222
    Phone Number:         303-764-6800
    Fax Number:           303-831-9246
    E-Mail:               roger.trim@ogletree.com
                          raul.chacon@ogletree.com


               DEFENDANT’S MOTION FOR EXTENSION OF TIME TO ANSWER
                             OR OTHERWISE RESPOND


           Defendant Lyft, Inc. (“Lyft”), by and through its counsel, Ogletree, Deakins, Nash,

    Smoak & Stewart, P.C., respectfully requests a 21-day extension of time, up through and

    including December 11, 2020, for Lyft to respond to Plaintiff's Complaint, Jury Demand and

    Petition for Declaratory Judgment (the “Complaint”). As grounds for this Motion, Lyft states as

    follows:

           1.      Certificate of Compliance. Pursuant to C.R.C.P. 121, § 1-15(8), undersigned

    counsel for Lyft certifies that he conferred in good faith with Plaintiff Ibrahim Dalis, proceeding
Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 51 of 59




    pro se, on November 17, 2020 regarding the relief requested herein. Mr. Dalis indicated that he

    opposes the relief requested herein.

           2.      Plaintiff filed his Complaint on August 31, 2020. The court issued a Summons to

    Lyft on October 27, 2020. Plaintiff served Lyft a copy of his Complaint on October 30, 2020.

           3.      Accordingly, Lyft’s answer or other response to the Complaint is due on

    November 20, 2020.

           4.      Counsel for Lyft was recently retained and requires additional time within which

    to investigate and prepare a response to the Complaint.

           5.      Plaintiff’s Complaint comprises a total of 42 pages and 151 individually

    numbered paragraphs. As a result, it is not feasible to conduct an adequate inquiry into the

    factual allegations asserted in the Complaint prior to the current due date for Lyft’s answer or

    other response.

           6.      Moreover, Plaintiff asserts eleven claims consisting of the following:

    Misclassification Claim, Breach of Contract Claim, Unjust Enrichment Claim, Bad Faith and

    Unfair Dealing, Minimum Wage Claim under 29 U.S.C. § 206, Overtime Claim under 29 U.S.C.

    § 207, Minimum Wage Claim under Colorado Wage Order 35, Overtime Claim under Colorado

    Wage Order 35, Failure to Reimburse Necessary Expenses Under Unjust Enrichment and Wage

    Order 35, Wage Statement Under Colorado Revised Statutes, 8-4-103(4), and Meal and Rest

    Break Claim Under Colorado Wage Order 35. These claims will require legal analysis of federal

    wage and hour law pursuant to the Fair Labor Standards Act under multiple theories of recovery

    and will also require analysis of applicable state law. Given the breadth of Plaintiff’s legal




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    theories, Lyft will require additional time to conduct legal analysis with respect to each claim

    asserted.

           7.      Lyft will require a 21-day extension to sufficiently address each of Plaintiff’s

    factual assertions and legal theories because various pieces of information will not be

    immediately obtainable due to the impending Thanksgiving holiday. As a result, a 21-day

    extension is particularly necessary based on delays attributable to the holiday.

           8.      Lyft has not previously requested any extensions of time to respond to the

    Complaint.

           9.      Neither the Parties nor the Court will be prejudiced by granting this Motion.

           10.     Pursuant to C.R.C.P. 121, § 1-11, undersigned certifies a copy of this Motion has

    been served upon Lyft.

           WHEREFORE, Lyft respectfully requests a 21-day extension of time, up through and

    including December, 11, 2020, for Lyft to respond to Plaintiff's Complaint.

            Respectfully submitted this the 17th day of November, 2020.

                                                   Ogletree, Deakins, Nash, Smoak & Stewart, P.C.


                                                   By: s/ Raul Chacon, Jr.
                                                       Roger G. Trim # 39708
                                                       Raul Chacon, Jr. # 43708


                                                   Attorneys for Defendant Lyft, Inc.




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on November 17, 2020, a true and correct copy of the foregoing
    MOTION FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND was
    filed via the Court’s E-Filing system, and served via U.S. mail and email, upon the following:

           Ibrahim Dalis, Pro Se Plaintiff
           17509 E. Temple Drive
           Aurora, CO 80015
           dalisabe@gmail.com

                                                s/ Barbara J. Esquibel
                                                Barbara J., Esquibel, Paralegal




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     DISTRICT COURT, DENVER COUNTY, COLORADO
     1437 Bannock Street, Room 256
     Denver, CO 80202                     DATE FILED: November 17, 2020 7:08 PM
                                                         FILING ID: F3B69ADD1059D
     PLAINTIFF:                                          CASE NUMBER: 2020CV381

     IBRAHIM DALIS

     v.

     DEFENDANT:

     LYFT, INC.                                                   COURT USE ONLY


                                                                  Case No.: 2020-CV-00381

                                                                  Ctrm/Div: 269

               PROPOSED ORDER GRANTING DEFENDANT’S MOTION FOR
              EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND



           THIS MATTER is before the Court on Defendant Lyft, Inc.’s Motion for Extension of
    Time to File their Answer or Otherwise Respond (the "Motion"). The Court, having reviewed the
    Motion, the record, and being otherwise fully advised in the premises, hereby GRANTS the
    Motion. This Defendant is granted an additional 21 days to file its answer or other responsive
    pleading, which shall be due on or before December, 11, 2020.

           DATED this ___ day of November, 2020.

                                                      BY THE COURT:



                                                      ______________________________
                                                      District Court Judge
Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 55 of 59




    DISTRICT COURT, DENVER COUNTY, COLORADO
    Court Address:
    1437 BANNOCK STREET, RM 256, DENVER, CO, 80202
                                                                       DATE FILED: November 20, 2020 11:59 AM
    Plaintiff(s) IBRAHIM DALIS                                         CASE NUMBER: 2020CV381
    v.
    Defendant(s) LYFT INC



                                                                                                    COURT USE ONLY
                                                                                        Case Number: 2020CV381
                                                                                        Division: 269     Courtroom:

                  Order:Defendant's Motion for Extension of Time to Answer or Otherwise Respond

    The motion/proposed order attached hereto: GRANTED.

    The Court is aware that Plaintiff objects, however, as there is not sufficient time to await a response from Plaintiff without
    passing the deadline, and being aware that counsel was recently retained, and finally, that this case is only in its initial
    stages, the Court finds good cause for the requested extension.

    The Motion therefore is Granted. Plaintiff shall have an extension of time, up through and including December, 11, 2020, for
    Lyft to respond to Plaintiff's Complaint.

    Issue Date: 11/20/2020




    MICHAEL JAMES VALLEJOS
    District Court Judge




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    DISTRICT COURT, DENVER COUNTY, COLORADO
    1437 Bannock Street, Room 256
    Denver, CO 80202

    PLAINTIFF:




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    IBRAHIM DALIS




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    v.




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    DEFENDANT:




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    LYFT, INC.                                                      COURT USE ONLY




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    Attorneys for: Lyft, Inc.



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                                                                    Case No.: 2020-CV-00381
    Name(s)               Roger G. Trim # 39708
                          Raul Chacon, Jr. #43708                   Ctrm/Div: 269
                          Ogletree, Deakins, Nash, Smoak &
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                          Stewart, P.C.
                          2000 S. Colorado Blvd.
                                                rd
                          Tower 3, Suite 900
                          Denver, CO 80222
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    Phone Number:         303-764-6800
    Fax Number:           303-831-9246
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    E-Mail:               roger.trim@ogletree.com
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                          raul.chacon@ogletree.com
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               DEFENDANT’S MOTION FOR EXTENSION OF TIME TO ANSWER
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                             OR OTHERWISE RESPOND
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           Defendant Lyft, Inc. (“Lyft”), by and through its counsel, Ogletree, Deakins, Nash,
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    Smoak & Stewart, P.C., respectfully requests a 21-day extension of time, up through and
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    follows:

           1.      Certificate of Compliance. Pursuant to C.R.C.P. 121, § 1-15(8), undersigned

    counsel for Lyft certifies that he conferred in good faith with Plaintiff Ibrahim Dalis, proceeding
Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 57 of 59




    pro se, on November 17, 2020 regarding the relief requested herein. Mr. Dalis indicated that he

    opposes the relief requested herein.

           2.      Plaintiff filed his Complaint on August 31, 2020. The court issued a Summons to




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    Lyft on October 27, 2020. Plaintiff served Lyft a copy of his Complaint on October 30, 2020.

                   Accordingly, Lyft’s answer or other response to the Complaint is due on




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    November 20, 2020.




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           4.      Counsel for Lyft was recently retained and requires additional time within which




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    to investigate and prepare a response to the Complaint.

           5.      Plaintiff’s Complaint comprises a total of 42 pages and 151 individually
                                                      er
    numbered paragraphs. As a result, it is not feasible to conduct an adequate inquiry into the
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    factual allegations asserted in the Complaint prior to the current due date for Lyft’s answer or
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    other response.
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           6.      Moreover, Plaintiff asserts eleven claims consisting of the following:
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    Misclassification Claim, Breach of Contract Claim, Unjust Enrichment Claim, Bad Faith and
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    Unfair Dealing, Minimum Wage Claim under 29 U.S.C. § 206, Overtime Claim under 29 U.S.C.
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    § 207, Minimum Wage Claim under Colorado Wage Order 35, Overtime Claim under Colorado
           tta




    Wage Order 35, Failure to Reimburse Necessary Expenses Under Unjust Enrichment and Wage
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    Order 35, Wage Statement Under Colorado Revised Statutes, 8-4-103(4), and Meal and Rest

    Break Claim Under Colorado Wage Order 35. These claims will require legal analysis of federal

    wage and hour law pursuant to the Fair Labor Standards Act under multiple theories of recovery

    and will also require analysis of applicable state law. Given the breadth of Plaintiff’s legal




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Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 58 of 59




    theories, Lyft will require additional time to conduct legal analysis with respect to each claim

    asserted.

           7.      Lyft will require a 21-day extension to sufficiently address each of Plaintiff’s




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    factual assertions and legal theories because various pieces of information will not be




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    immediately obtainable due to the impending Thanksgiving holiday. As a result, a 21-day




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    extension is particularly necessary based on delays attributable to the holiday.




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           8.      Lyft has not previously requested any extensions of time to respond to the




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    Complaint.

           9.      Neither the Parties nor the Court will be prejudiced by granting this Motion.
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           10.     Pursuant to C.R.C.P. 121, § 1-11, undersigned certifies a copy of this Motion has
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    been served upon Lyft.

           WHEREFORE, Lyft respectfully requests a 21-day extension of time, up through and
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    including December, 11, 2020, for Lyft to respond to Plaintiff's Complaint.
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            Respectfully submitted this the 17th day of November, 2020.
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                                                   Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
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                                                   By: s/ Raul Chacon, Jr.
                                                       Roger G. Trim # 39708
       A




                                                       Raul Chacon, Jr. # 43708


                                                   Attorneys for Defendant Lyft, Inc.




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Case 1:20-cv-03523-DDD-NYW Document 1-1 Filed 11/30/20 USDC Colorado Page 59 of 59




                                    CERTIFICATE OF SERVICE

            I hereby certify that on November 17, 2020, a true and correct copy of the foregoing
    MOTION FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND was
    filed via the Court’s E-Filing system, and served via U.S. mail and email, upon the following:




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           Ibrahim Dalis, Pro Se Plaintiff
           17509 E. Temple Drive




                                                                           V
           Aurora, CO 80015
           dalisabe@gmail.com




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                                                s/ Barbara J. Esquibel




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                                                Barbara J., Esquibel, Paralegal




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